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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    KYLE LYDELL CANTY,

10                                  Plaintiff,             Case No. C16-1655-RAJ

11           v.
                                                           ORDER DENYING PLAINTIFF’S
12    CITY OF SEATTLE, et al.,                             MOTION FOR PRELIMINARY
                                                           INJUNCTIVE RELIEF
13                                  Defendants.

14

15          The Court, having reviewed plaintiff’s second amended complaint (Dkt. 38), plaintiff’s

16   motion for preliminary injunctive relief (Dkt. 49), defendants’ responses to plaintiff’s motion for

17   preliminary injunctive relief (Dkts. 72, 74), the Report and Recommendation of the Honorable

18   James P. Donohue, United States Magistrate Judge, any objections thereto, and the remaining

19   record, hereby finds and ORDERS:

20          (1)     The Report and Recommendation is approved and adopted.

21          (2)     Plaintiff’s motion for preliminary injunctive relief (Dkt. 49) is DENIED.

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23
     ORDER DENYING PLAINTIFF’S
     MOTION FOR PRELIMINARY
     INJUNCTIVE RELIEF - 1
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 1          (3)    The Clerk is directed to send copies of this Order to plaintiff, to counsel for

 2   defendants, and to the Honorable James P. Donohue.

 3          DATED this 20th day of September, 2017.

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                                                          A
                                                          The Honorable Richard A. Jones
                                                          United States District Judge
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     ORDER DENYING PLAINTIFF’S
     MOTION FOR PRELIMINARY
     INJUNCTIVE RELIEF - 2
